Case 1:17-cv-00113-PLM-RSK ECF No. 176 filed 05/28/19 PageID.2394 Page 1 of 1



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

THE CITY OF GRAND RAPIDS,                    )
                      Plaintiff,             )
                                             )      No. 1:17-cv-113
-v-                                          )
                                             )      Honorable Paul L. Maloney
GRAND RAPIDS POLICE COMMAND                  )
OFFICERS ASSOCIATION, et al.,                )
                        Defendants.          )
                                             )

                                   JUDGMENT

      The Court has resolved all pending claims. As required by Rule 58 of the Federal

Rules of Civil Procedure, JUDGMENT ENTERS.

      THIS ACTION IS TERMINATED.

      IT IS SO ORDERED.

Date: May 28, 2019                               /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
